                          United States District Court
                        Western District of North Carolina
                               Asheville Division

      Rupa Vickers Russe, et al.      )               JUDGMENT IN CASE
                                      )
             Plaintiff(s),            )             1:20-cv-00092-MR-WCM
                                      )
                  vs.                 )
                                      )
       United States of America,      )
              Defendant               )

 DECISION BY COURT. This action having come before the Court by Trial and a decision
having been rendered;

IT IS ORDERED AND ADJUDGED that Judgment is hereby entered in accordance with the
Court’s June 11, 2024 Order.

                                               June 11, 2024




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